
USCA1 Opinion

	










          October 11, 1996  UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 95-2084

                              ROBERT B. GRENIER, ET AL.,

                                Plaintiffs, Appellees,

                                          v.

                         VERMONT LOG BUILDINGS, INC., ET AL.,

                   Defendants, Third-Party Plaintiffs, Appellants.

                                          v.

                     DAP, INC. and CHAMPION INTERNATIONAL CORP.,

                         Third-Party Defendants, Appellees. 

                                 ____________________

                                     ERRATA SHEET

            The opinion  of  this Court,  issued  on  September 25,  1996,  is
        amended as follows:

            On page  10, 3rd line down,  replace "Vermont  Life" with "Vermont
        Log".








































                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 95-2084

                              ROBERT B. GRENIER, ET AL.,

                                Plaintiffs, Appellees,

                                          v.

                         VERMONT LOG BUILDINGS, INC., ET AL.,

                   Defendants, Third-Party Plaintiffs, Appellants.

                                          v.

                     DAP, INC. and CHAMPION INTERNATIONAL CORP.,

                         Third-Party Defendants, Appellees. 

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Nathaniel M. Gorton, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________

                          Boudin and Stahl, Circuit Judges.
                                            ______________

                                 ____________________

            Carol A. Griffin with whom Lawrence  F. Boyle, W. Joseph  Flanagan
            ________________           __________________  ___________________
        and Morrison, Mahoney &amp; Miller were on brief for appellants.
            __________________________
            Roger  D.  Matthews with  whom  Nick  K.  Malhotra  and Madan  and
            ___________________             __________________      __________
        Madan, P.C.  were on  brief  for  appellees  DAP,  Inc.  and  Champion
        ___________
        International Corp.

                                 ____________________

                                  September 25, 1996



















                                 ____________________

































































                 BOUDIN,  Circuit  Judge.    Joan Grenier  suffered  from
                          ______________

            chronic gastritis for several years, allegedly in reaction to

            the wood preservative applied  to the walls of her  log home.

            She and her family sued Vermont Log Buildings, Inc. ("Vermont

            Log"), the manufacturer of  their home, claiming  negligence,

            breaches  of warranty,  and  violation of  Mass. Gen.  L. ch.

            93A.1   Vermont  Log in  turn filed  a  third-party complaint

            against the  alleged manufacturers of the  preservative.  The

            district   court    granted   summary   judgment    for   the

            manufacturers,  rejecting  Vermont Log's  third-party claims.

            Vermont Log appeals.  We affirm.

                 Because the  case was  decided on summary  judgment, our

            recitation  of the facts is  based primarily on  the facts as

            alleged.   Snow v.  Harnischfeger Corp.,  12 F.3d  1154, 1157
                       ____     ___________________

            (1st  Cir. 1993),  cert. denied, 115  S. Ct.  56 (1994).   In
                               ____________

            April 1975, Robert and  Joan Grenier purchased the components

            of a log  house from  an authorized dealer  for Vermont  Log.

            The logs were shipped  to the Greniers' lot in  Massachusetts

            and  assembled there.  The  Greniers moved into  the house in

            May 1975.  Vermont Log had treated the  logs with Woodlife, a

            wood   preservative   containing   the    active   ingredient

            pentachlorophenol.


                                
            ____________________

                 1Chapter  93A outlaws  "[u]nfair methods  of competition
            and unfair or deceptive  acts or practices in the  conduct of
            any  trade  or  commerce,"  and permits  awards  of  multiple
            damages and attorneys' fees.

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                 In early 1982, Joan Grenier began displaying symptoms of

            gastritis,  and continued to  suffer intermittent stomach and

            back pain  for several years.   A doctor who examined  her in

            April 1987 suspected  that her condition  was caused by  wood

            preservative in the logs of the Greniers' cabin.  Later tests

            revealed an elevated level  of pentachlorophenol in her body.

            When  she   moved   out   of  the   house,   her   level   of

            pentachlorophenol dropped and her symptoms abated.

                 At the  time the  Greniers bought their  cabin, Woodlife

            was  registered  as a  pesticide as  required by  the Federal

            Insecticide,  Fungicide,  and  Rodenticide  Act  ("FIFRA"), 7

            U.S.C.     136-136y.  FIFRA  is one  of a  family of  federal

            regulatory statutes  that are  concerned with  health, safety

            and  (in this  case)  the  environment.    Two  of  its  main

            components are a requirement of prior approval of the product

            by the Environment Protection Agency, 7 U.S.C.   136a(a), and

            of  EPA approval of  the labeling supplied  with the product,

            id.   136a(c)(1)(C).
            ___

                 In  early 1975,  the  Woodlife labeling,  which EPA  had

            approved,  warned that the product was toxic and was not "for

            use or  storage in or  around the home."   The labeling  also

            included  a  section  describing  the uses  of  the  product:

            "PRODUCT USES: Millwork, shingles, siding, structural lumber,

            fences,  trellises, outside  furniture,  vacation homes,  all

            lumber  and wood products."   On September 26,  1975, the EPA



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            approved a modified label for Woodlife.  On the new labeling,

            the section listing product uses no longer included "vacation

            homes" as a use  and added a further warning:  "Do not use on

            interior surfaces which are not to be finished."

                 The Greniers filed suit in  1990 against Vermont Log and

            two  allegedly  related  corporate   entities  (collectively,

            "Vermont Log"),  alleging that pentachlorophenol used  in the

            log  home  caused  Joan  Grenier's illness.    The  claims as

            ultimately amended comprised  ten different counts, including

            bare bones  claims for  express and implied  warranty breach,

            for negligence  in design,  manufacture and failure  to warn,

            and under chapter 93A.   Joan Grenier sought damages  for her

            injuries;  her  husband  and  the  Greniers'  three  children

            claimed loss of consortium.

                 In  1991,  Vermont  Log  filed a  third-party  complaint

            against  DAP, Inc. and  Roberts Consolidated  Industries, the

            alleged manufacturers, sellers, and distributors of Woodlife.

            Thereafter,  Champion  International, Inc.,  was  added as  a

            third-party  defendant (Roberts  was later  dropped  from the

            case by  agreement).   As amended, Vermont  Log's third-party

            complaint asserted  claims for contribution under  Mass. Gen.

            L.  ch.  231B based  on  negligence by  the  manufacturers of

            Woodlife,  and  claims  for  breaches of  warranty  by  those

            manufacturers. 





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                 In August 1991,  DAP and Roberts  removed the action  on

            diversity  grounds to  federal  district court  where it  was

            assigned to Judge Zobel.  In  due course, Vermont Log and the

            third-party  defendants  moved for  summary  judgment on  the

            Greniers'  claims on the grounds that they were barred by the

            statute of limitations and that they were preempted by FIFRA.

            On November 4, 1992,  Judge Zobel ruled that Joan  and Robert

            Grenier's warranty  and negligence claims were  barred by the

            statute  of limitations,  but that  their chapter  93A claims

            were timely under  its longer limitations  period.  She  also

            held   that  none  of  the  children's  claims  for  loss  of

            consortium was  barred, since the statute  of limitations was

            tolled during their minority.

                 Judge  Zobel further  held that  Vermont Log  could seek

            contribution from DAP and  Champion (for convenience we refer

            to them  hereafter as "the Woodlife  manufacturers"); but she

            ruled  that  Vermont  Log  could  not  obtain indemnification

            because  by selling  the  logs to  the  Greniers Vermont  Log

            participated  in  the  conduct  that  allegedly  damaged  the

            Greniers.     Finally,  Judge  Zobel  concluded   that  under

            Wisconsin Pub.  Intervenor v.  Mortier, 501 U.S.  597 (1991),
            __________________________     _______

            none of the claims was preempted by FIFRA.

                 After Judge  Zobel's November 1992 ruling,  the case was

            reassigned to newly appointed Judge Gorton.  In May 1993, the

            Woodlife   manufacturers  filed   new  motions   for  summary



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                                         -5-















            judgment, this  time against Vermont Log;  they argued (based

            on  intervening case law) that FIFRA preempted all of Vermont

            Log's remaining  claims against them.   Then-Magistrate Judge

            Ponsor, to whom the case had been referred, held a hearing on

            the motion in September 1993.

                 In  July  1994,  Judge   Ponsor,  having  recently  been

            appointed a district judge, relinquished jurisdiction in this

            case.  At the same time he issued a memorandum in a companion

            case brought  by a  different plaintiff against  Vermont Log.

            Judge  Ponsor  there ruled  that  FIFRA  preempted claims  of

            failure to  warn  and breach  of  implied warranty,  but  not

            claims of breach of express warranty and negligent design and

            manufacture.   Jillson  v. Vermont Log  Bldgs., Inc.,  857 F.
                           _______     _________________________

            Supp. 985 (D. Mass. 1994).

                 After the present case was returned to Judge  Gorton, he

            ruled that all of  Vermont Log's claims were "related  to the

            labeling  and packaging" of  Woodlife.   While noting  that a

            properly  supported  express  warranty  claim  might  not  be

            preempted,  Judge  Gorton found  Vermont  Log's  claim to  be

            "based  entirely on the label" because "[n]o other factual or

            evidentiary  basis   for  the  claim  was   provided  in  the

            pleadings."  Judge Gorton granted summary judgment to DAP and

            Champion  and  entered a  separate  final  judgment in  their

            favor.  See Fed. R. Civ. P. 54(b).
                    ___





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                                         -6-















                 On appeal,  Vermont Log  argues that the  district court

            erred in finding that all  of its claims were preempted:   it

            says that FIFRA preempts only those state-law claims based on

            the labeling  or packaging of pesticides and  it asserts that

            most of its claims are not based on the labeling or packaging

            of Woodlife but rather  upon design and manufacturing defects

            and upon failure to warn unrelated to labeling and packaging.

            We review the district court's  grant of summary judgment  de
                                                                       __

            novo, drawing reasonable inferences  in favor of Vermont Log.
            ____

            Brown v. Hearst Corp., 54 F.3d 21, 24 (1st Cir. 1995).
            _____    ____________

                 We  begin, in the classic fashion, by seeking to lay the

            counts   allegedly  preempted   along   side  the   statutory

            preemption clause and the cases that have interpreted it  and

            similar language in other statutes.  Where, as here, Congress

            has included an express preemption clause in the  statute, we

            start  with the language of  that provision.  Medtronic, Inc.
                                                          _______________

            v.  Lohr, 116 S. Ct. 2240 (1996); Cipollone v. Liggett Group,
                ____                          _________    ______________

            Inc., 505 U.S. 504, 517 (1992).  FIFRA's preemption clause, 7
            ____

            U.S.C.   136v, reads as follows:

                 (a) In general

                           A State may regulate the sale or use
                      of any federally registered  pesticide or
                      device in  the State, but only  if and to
                      the extent the regulation does not permit
                      any  sale  or  use  prohibited   by  this
                      subchapter.

                 (b) Uniformity




                                         -7-
                                         -7-















                           Such  State  shall  not   impose  or
                      continue in effect  any requirements  for
                      labeling  or packaging in  addition to or
                      different from those required  under this
                      subchapter.

                 It  is apparent  from subsection (a),  as well  as other

            statutory language, e.g., 7 U.S.C.    136w-1, that FIFRA does
                                ____

            not wholly  oust the states  from pesticide regulation.   See
                                                                      ___

            generally Mortier, 501  U.S. at  612-13.  And  it is  equally
            _________ _______

            apparent  from subsection  (b)  that the  state cannot  apply

            different  or  additional  "requirements" for  "labeling  and

            packaging."  It was once an open question, but is now settled

            by   the  Supreme   Court   in  Cipollone   and  Lohr,   that
                                            _________        ____

            "requirements" in  this context presumptively  includes state

            causes of  action as well as laws and regulations.  Lohr, 116
                                                                ____

            S. Ct. at 2251-53  (plurality opinion), id., 2259-60 (Breyer,
                                                    ___

            J.,  concurring in  part  and concurring  in judgment),  id.,
                                                                     ___

            2262-63 (O'Connor, J., Scalia, J., and Thomas, J., concurring

            in  part and dissenting in part); Cipollone, 505 U.S. at 521-
                                              _________

            22 (plurality  opinion), id.,  548-49 (Scalia, J.  and Thomas
                                     ___

            J., concurring in judgment in part and dissenting in part).

                 This court so held in  King v. E.I. Dupont de Nemours  &amp;
                                        ____    _________________________

            Co.,  996 F.2d 1346 (1st  Cir.), cert. dismissed,  114 S. Ct.
            ___                              _______________

            490 (1993), which, unlike  Cipollone and Lohr, involved FIFRA
                                       _________     ____

            itself.  Other circuits are in accord.  E.g., Papas v. Upjohn
                                                    ____  _____    ______

            Co., 985 F.2d 516 (11th  Cir.), cert. denied, 114 S.  Ct. 300
            ___                             ____________

            (1993).   Our  case involves  third-party claims--by  the log



                                         -8-
                                         -8-















            supplier against the  chemical manufacturers--but nothing  in

            the  preemption  clause  limits   its  effects  to  suits  by

            consumers.   Indeed,  Vermont  Log itself  concedes that  its

            claims based  on the inadequacy of EPA  approved labeling are

            preempted by FIFRA; its objection,  as already noted, is that

            most of its claims do not fit this rubric.

                 To appraise this objection requires a closer description

            of Vermont Log's actual claims.  Here,  Vermont Log's amended

            third-party complaint is structured so that, in four separate

            counts, two  different categories  of claims are  directed at

            DAP  and Champion.   In  parallel counts  III and  V, Vermont

            Log's  complaint says  that DAP  and Champion  are or  may be

            liable  to  Vermont  Log  for their  own  "negligent  design,

            manufacture, and failures to  warn"; confusingly, Vermont Log

            then  in the same counts  asserts these wrongs  simply as the

            basis  for  a pro  rata  contribution claim  against  DAP and

            Champion.2

                 Then, in  two other parallel counts (IV and VI), Vermont

            Log asserts that DAP  and Champion are or  may be liable  for

            breach of  "express and implied warranties  that said product

            [apparently  a reference  to  Woodlife]  was of  merchantable


                                
            ____________________

                 2It is  unclear why  Vermont Log  sought  only pro  rata
            contribution  since  the  negligent acts  alleged  might also
            entitle it to full recovery absent  some bar like preemption.
                          ____
            Cf.  Fireside Motors, Inc. v. Nissan  Motor Corp., 479 N.E.2d
            ___  _____________________    ___________________
            1386, 1389 (Mass. 1985) (citing Restatement (Second) of Torts
                                            _____________________________
              886B, cmt. c (1979)).

                                         -9-
                                         -9-















            quality,  free   of  hazardous  defects,  and   fit  for  the

            particular  purpose intended."   On  this claim,  Vermont Log

            seeks not pro rata recovery  but compensation for whatever it

            may have to pay to the Greniers plus its costs  in conducting

            the  litigation.   It is  easiest to  discuss all  of Vermont

            Log's  claims   functionally,  that  is,  in   terms  of  the

            defendants' alleged wrongful conduct.  

                 Failure to warn.  The  most obvious state-law claim  for
                 _______________

            Vermont   Log,  preemption  aside,   is  that   the  Woodlife

            manufacturers should  have warned Vermont  Log that  Woodlife

            was  not  suitable  for  residences.    This  claim,  whether

            presented  as a  negligence claim  or a  claim for  breach of

            implied warranty, is preempted by FIFRA as far as the present

            case is concerned.  Vermont Log concedes this is so as to any

            inadequacy in the labeling as approved by EPA.

                 It argues, however, that FIFRA permits a failure to warn

            claim so  far is it is not "based on labeling or packaging." 

            Here  lurks a  potentially vexing  problem:  one  can imagine

            claims  based  on   what  was   said  or   not  said   during

            conversations, in correspondence, or  in point of sales signs

            or the  absence of such  signs.  Whether  and to what  extent

            these  kinds of  claims  should  be  preempted depends  on  a









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                                         -10-















            reading of section 136v  and related judgments.   The answers

            are far from clear.3

                 But  the  structure  of  FIFRA  indicates  that Congress

            intended the pesticide labeling to bear the primary burden of
                                                        _______

            informing the buyer of dangers and limitations.  See 7 U.S.C.
                                                             ___

              136a(c); 40  C.F.R.   156.10.   If  the plaintiff wants  to

            premise a failure to warn claim on a communication or failure

            to  communicate by some other  means, it is  incumbent on the

            plaintiff to set forth a coherent specific claim.  On appeal,

            Vermont  Log does not even attempt to explain how its failure

            to warn claim  is based  on anything other  than the  alleged

            inadequacy of the labeling approved by EPA.

                 Affirmative misstatement.   Under Massachusetts law,  an
                 ________________________

            express warranty  may be created  where the seller  makes any

            "affirmation  of  fact or  promise"  or  "description of  the

            goods"  and this statement becomes  part of the  basis of the

            bargain.  Mass.  Gen. L.  ch. 106,    2-213.   An  inaccurate

            statement  might also  support a  recovery under a  theory of

            negligent misrepresentation.  Cf. Danca v. Taunton Sav. Bank,
                                          ___ _____    _________________

            429 N.E.2d  1129, 1133-34  (Mass. 1982).   Such claims  could

            conceivably  be  based  either  on  statements  made  in  the


                                
            ____________________

                 3Compare  Chemical  Specialties  Manufacturers Ass'n  v.
                  _______  __________________________________________
            Allenby, 958 F.2d  941, 946-47 (9th Cir.),  cert. denied, 113
            _______                                     ____________
            S.  Ct.  80  (1992)  (state  statute requiring  point-of-sale
            warnings not  preempted), with Taylor AG  Industries v. Pure-
                                           _____________________    _____
            Gro, 54 F.3d 555, 561 (9th Cir. 1995) (failure to warn claims
            ___
            based on inadequacy of point-of-sale signs preempted).

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                                         -11-















            labeling  or elsewhere;  and the  statements might  be either

            consistent with FIFRA requirements or in violation of them.

                 These variations  give rise to  different and  difficult

            preemption questions.  The circuits are not unanimous even as

            to FIFRA itself,  see generally Lowe v.  Sporicidin Int'l, 47
                              _____________ ____     ________________

            F.3d  124, 128-29 (4th Cir. 1995),  let alone other statutes.

            As  Lohr illustrates, the signals  from the Supreme Court are
                ____

            blurred by  disagreements  within the  Court.   But, in  this

            case, the only affirmative misstatement identified by Vermont

            Log is the statement  in the original labeling  that Woodlife

            was suitable forapplication to "all wood andlumber products."

                 This unqualified  statement may have been inaccurate, as

            its later revision suggests, but it was a statement contained

            in  EPA-approved  labeling.    To premise  liability  on  the

            inaccuracy of the statement is in substance to determine that

            a different statement  should have been made in the labeling.

            Yet  the statute itself  prohibits a state  requirement as to

            labeling that is "different"  than that prescribed by federal

            law.  7 U.S.C.    136v.  See Lowe, 47 F.3d at 129.   Thus the
                                     ___ ____

            only  express  warranty  claim  specifically   identified  by

            Vermont Log is preempted.

                 Misdesign  or manufacture.    Whether on  a warranty  or
                 _________________________

            negligence theory, recovery might  be premised on mistakes in

            the   design  or   manufacture  of   the  product,   and  the

            manufacturing defect might be generic or a defect in a single



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            item. E.g., Hayes v.  Ariens Co., 462 N.E.2d 273,  277 (Mass.
                  ____  _____     __________

            1984).   Whether such claims are preempted may depend both on

            their precise make-up  and on the underlying  statute.  Under

            FIFRA, the  situation is  complicated  by the  fact that  the

            preemption clause refers only to labeling and packaging while

            the statute  empowers the agency  to regulate the  product as

            well as the description.  7 U.S.C.   136a(a).

                 In all  events,  merely to  call something  a design  or
                                             ____

            manufacturing  defect  claim  does  not  automatically  avoid

            FIFRA's  explicit preemption  clause.   In  re DuPont-Benlate
                                                    _____________________

            Litigation,  859 F. Supp.  619, 623-24 (D.P.R.  1994).  Here,
            __________

            Vermont  Log's only  elaborated claim  under this  heading is

            that   Woodlife  was  defectively  designed  or  manufactured

            because  it  was  foreseeable  that   it  would  be  used  on

            residences and it was unfit for  this use.  But this claim is
                                        _____________

            effectively no more  than an  attack on the  failure to  warn

            against residential use and therefore is a preempted claim.

                 This  certainly does  not mean  that every  misdesign or

            mismanufacturing claim would be debarred by section 136v.  In

            a  batch  of  properly  made  products,  one  item  might  be

            defective  or  tainted;    or  perhaps  one  might  design  a

            pesticide  that,  while properly  approved  and  labeled, was

            unduly dangerous for any legitimate use.  In the former case,

            it  is hard  to  see  why  FIFRA  preemption  would  even  be

            arguable;  in the latter, there  would be at  most an implied
                                                                  _______



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            preemption  claim,  based not  on section  136v but  on EPA's

            approval  of the  product; and it  is by no  means clear that

            such a preemption claim would prevail.4

                 However, in  this instance, Vermont Log  has provided no

            hint  whatever  of  how  Woodlife  has  been  misdesigned  or

            mismanufactured  beyond  Vermont  Log's suggestion--which  we

            regard as  a disguised  labeling claim--that the  product was

            not  fit  for  residential  use.    Vermont  Log's  position,

            implicit  in its brief and explicit in oral argument, is that

            no  such  disclosure  or elaboration  was  required.   It  is

            enough, it contends, that its complaint alleged misdesign and

            mismanufacture in general terms and that not every such claim

            is automatically preempted.

                 If the Woodlife manufacturers had squarely argued a lack

            of  evidence in  their motion  for summary  judgment, Vermont

            Log's  position could be rejected  out of hand.   Vermont Log

            bears the burden of  proof at trial and, under  Celotex Corp.
                                                            _____________

            v. Catrett, 477 U.S.  317, 322-23 (1986), it would  take very
               _______

            little  in  the way  of a  negative  averment at  the summary

            judgment  stage  to  require  Vermont  Log  to  identify  its

            evidence--trialworthy  evidence of  a  specific misdesign  or

            manufacturing defect which  was not  a disguised  mislabeling


                                
            ____________________

                 4See Cipollone, 112 S.  Ct. at 2622-23.   Compare Mendes
                  ___ _________                            _______ ______
            v.  Medtronic,  18 F.3d  13 (1st Cir.  1994) (Medical  Device
                _________
            Act), with  In re DuPont-Benlate-Litigation, 859  F. Supp. at
                  ____  _______________________________
            622-23 (FIFRA).

                                         -14-
                                         -14-















            claim.  Mottolo v. Fireman's Fund Ins. Co., 43  F.3d 723, 725
                    _______    _______________________

            (1st Cir. 1995).

                 Whether Vermont  Log got  such due  notice of  a Celotex
                                                                  _______

            challenge could be  debated.   On the one  hand, the  summary

            judgment  motion was  cast primarily  in  abstract preemption

            terms; on the other hand, Vermont Log  could at any time have

            explained  to the district court  just what kind of misdesign
            _________

            or  manufacturing defect claim it was making over and above a

            recast  version of its preempted labeling claim.  As is often

            the case, the answer is to be found more in common sense than

            categorical rules.

                 If  we  thought  that  Vermont Log  had  been  genuinely

            misled, we would remand to allow it to identify its misdesign

            or   mismanufacture   claim   and   require    the   chemical

            manufacturers  to  formulate a  new summary  judgment motion.

            Indeed, we might be tempted to follow this course even now if

            Vermont Log had troubled to tell us just what specific design

            or manufacturing  defect it plausibly suspected or how it had

            been  denied   a  promising   opportunity  to  unearth   this

            information through discovery.  But at oral argument our most

            persistent  questions  on  the  subject were  met  only  with

            generalities.

                 It is too late in the  day for such gambits.  It  is one

            thing at the outset of a case to ask for indulgence to pursue

            initial discovery; it  is quite another matter, on appeal and



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            after  five years, to ask for a reversal based on theoretical

            possibilities  but without any effort to explain how a remand

            might  bear fruit.  If there are unpreempted claims of design

            or manufacturing  defect, Vermont  Log  has never  adequately

            identified  them,  let  alone   pointed  to  any   supporting

            evidence.

                 Indemnification.   As  already explained,  Vermont Log's
                 _______________

            third-party complaint did explicitly request contribution; in

            fact, its negligence counts  were asserted not as independent

            claims for full recovery but merely as the basis for pro rata

            contribution  under the  Massachusetts statute.   Conversely,

            although Vermont  Log now speaks of "indemnification" claims,

            the  third-party complaint nowhere refers to indemnification,

            although  the  warranty counts  seek  the  same damages  that

            indemnification might provide.

                 Traditionally, indemnification has comprised  a distinct

            body of doctrine that, to put the matter too crudely, permits

            a vicariously  liable party (e.g., an  innocent principal) to
                                         ____

            obtain  reimbursement   from  a   culpable  party  (e.g.,   a
                                                                ____

            blameworthy agent) whose conduct  gave rise to the liability.

            P. Keeton, Prosser and  Keeton on Torts   51,  at 341-44 (5th
                       ____________________________

            ed.  1984); Decker v. Black  and Decker Mfg.  Co., 449 N.E.2d
                        ______    ___________________________

            641,   644-45  (Mass.  1983).     Thus,  indemnification  may

            sometimes  be available  even  when no  other direct  tort or

            contract claim will lie.



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                 On  appeal, Vermont  Log  says as  an alternative  final

            argument  that Judge Zobel  erred in rejecting  its "claim of

            indemnity" on  the ground that "[i]demnity  is permitted only

            where  one does  not join the  negligent act   .  . . ."   We

            confess ourselves puzzled by  Judge Zobel's ruling; while the

            principle may be  sound, it  is far from  clear that  Vermont

            Log's  culpability in  this case--at  least on  some warranty

            theories  asserted by the  Greniers--is of a  kind that would

            automatically  preclude an  indemnification claim  by Vermont

            Log against DAP and Champion.

                      Yet even if we  assume (dubitante) that Vermont Log
                                              _________

            has asserted a separate  claim for indemnification and assume

            further that it is not barred from indemnification by its own

            participation in the wrong, a  crucial obstacle remains.  The

            body of doctrine  comprising indemnification law varies  from

            state to  state;  but in  Massachusetts,  an  indemnification

            claim does require  a showing  of fault  on the  part of  the
                                              _____

            parties    or   parties   against   whom   the   demand   for

            indemnification is leveled.  Stewart v. Roy Bros., 265 N.E.2d
                                         _______    _________

            357, 365 (Mass. 1970).

                 Here, the only allegations of  fault made by Vermont Log

            against DAP and  Champion are the  charges of negligence  and

            breaches of  warranty made  in counts  III-VI of  the amended

            third-party complaint.   We have already  found these charges

            to be inadequate, some because of federal preemption and some



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            because  they are  both too  general and  wholly unsupported.

            And  if these claims  are themselves inadequate,  there is no

            foundation for a showing of fault as to DAP and Champion that

            would permit Vermont Log to claim indemnification.          

                 There is a final point to  be made that is pertinent  to

            future cases of this kind.  Vermont Log has now placed itself

            in  an  unhappy position  where  the  Greniers might  recover

            against  it while it  would no  longer have  recourse against

            those who supplied it  with Woodlife.  This assumes,  perhaps

            fancifully, that the Greniers, or at  least the minors, might

            structure and then  prove a  claim that managed  at the  same

            time  to avoid  every  type of  preemption  and any  kind  of

            defense based  on Vermont Log's own possible  ignorance.  But

            the theoretical risk is there.

                 This  risk arises directly from the  entry of a separate

            final judgment under  Rule 54(b) against  Vermont Log on  its

            third-party claims in advance of  the full resolution of  the

            Greniers' first-party claims against Vermont Log.  If Vermont

            Log had objected to a separate judgment in the district court

            and  appealed on that  issue in this court,  we would be very
            ___

            much open to such an argument.   The reason is the overlap of

            first-party  and  third-party claims  in  this  case and  the

            resulting risk (in this case) of inconsistent results.

                 But Vermont Log has not  made this argument.  If  it had

            no  objection to the entry  of a separate judgment, certainly



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            the  district  court had  no  obligation to  withhold  such a

            judgment.  Indeed, Vermont Log may have had tactical reasons,

            unknown  to  us,  for  allowing the  uncoupling  of  the  two

            complaints.  Our sole  reason for mentioning the point  is to

            alert district courts in future  cases that such an objection

            to a separate judgment may have significant force.

                 Affirmed.
                 ________










































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